                            Case 25-31244 Document 2 Filed in TXSB on 03/04/25 Page 1 of 1
                                                                                                                          United States Courts
                                                                                                                        Southern District of Texas
                                                                                                                                  FILED

       Fill in this information to identify the case:                                                                        MAR O4 2025
       Debtor name    ON TAVENOR LANE, LLC
       United States Bankruptcy Court for the:    _S_o_u_th_e_rn_____ District of TEXAS                             J:Jathan Ochsner, Clerk of Court
                                                                                           (State)
                                                                                                                                                          □ Check if this is an
       Case number (If known):
                                                                                                                                                            amended filing




     Official Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
     Unsecured Claims and Are Not Insiders                                                                                                                                 12/15

     A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
     disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
     secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
     largest unsecured claims.

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       N~me <>f•tr~dit6r ahi:ttonJplet~ ;           N~rne,telephone,nuniiierrand ,Nature'bftheclaim, .'Indicate.if               ·'Amount Mu11securectCranfr, •
     .. mailing,add~ss,. iiJCludin,g2iip.'.9ode     ~rn~ihidctress).of;cr~ditor  • iUorexamP,/e, traae . ,claim is.           ' , If the claim is fully unsecured, fill in only unsecured
                                                    contac;:t '                      debti;;,,bank loans·, •;contingent, . claim amount. If claim is partially secured, fill in •
                                                                                   ;professional              iunliqllidaled, total,ctaim ahloLirit and deduction fo~value of •
                                                                                   '.services, and.           ,or disputed collateral or s1:1toff to calculate unsecured. claim.
                                                                                   , government
                                                                                 , 1contracts}

                                                                                                                                • Total claim, if     Deduction for      Unsecured
                                                                                                                                , partially           value bf           claim
                                                                                                                                ; secured           , collateral or
                                                                                                                                                    ' setoff
1
                                                                                                                                 · $185,880.93 : $141,707.00, $44,173.93
       MALVE FUND LLC
       15 HARBOR PARK DR
       Port Washington, NY 11050




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     Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                page 1
